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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 SHIRLON MAYNARD                             )
 2532 Lisa Drive                             )
 Waldorf, Maryland 20601                     )
                                   Plaintiff )
                                             )
                     v.                      ) Civil Action
                                             )
 THE ARCHITECT OF THE CAPITOL                )
 c/o General Counsel                         )
 Ford House Office Building H2-265A          )
 Second and D Streets SW                     )
 Washington, DC 20515                        )
                                 Defendant )
                                             )

                                         COMPLAINT

       Plaintiff, Shirlon Maynard, brings this civil action against Defendant, the Architect of the

Capitol (AOC) because the AOC has failed to pay Plaintiff, who is the Plaster Leader in the Paint

Shop, the environmental hazard-pay to which he is entitled as a result of his regular exposure to

lead based paint and asbestos.

       Facing spending pressures, the Architect stopped using professional hazardous materials

experts to abate lead paint from the Buildings that House Congressional Offices. Rather than pay

professionals to do the abatement work, the Architect assigned its painters and plasterers to

perform the abatement with minimal training and supervision. Due to their lack of training and

experience, as well as irresponsible and dangerous work instructions, numerous instances of unsafe

work practices resulted in Plaintiff regularly working with toxic substances, including lead paint,

asbestos and silica.

       Despite requiring Mr. Maynard, and others, to work with these hazardous materials, the

AOC failed to change Mr. Maynard’s “Rate of Basic Pay” to include the 8% environmental hazard
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pay premium to which he is entitled and has therefore failed to pay him the appropriate hourly

rate, including when he works overtime, in violation of the Congressional Accountability Act.

                                        JURISDICTION

   1.      Plaintiff invokes the jurisdiction of this Court pursuant to the Congressional

           Accountability Act of 1995 (2 U.S.C. §1408 (a)), as well as 28 U.S.C. § 1331

           (Federal Question), 5 U.S.C. § 5596 (Back pay act).

   2.      This is an action authorized and instituted pursuant to the Congressional

           Accountability Act, (2 U.S.C. § 1301 et seq.).

   3.      The unlawful employment practices alleged in this Complaint were committed in the

           District of Columbia.

   4.      Plaintiff is a current employee of the Architect of the Capitol.

   5.      Defendant Architect of the Capitol (Architect or AOC) is an “Employing Office”

           covered by the Congressional Accountability Act (2 U.S.C. § 1301(9)(D)).

   6.      AOC is headquartered in the District of Columbia.

   7.      2 U.S.C. § 1313 of the Congressional Accountability Act extends the rights and

           protections of 29 U.S.C. §§ 206(a)(1) and (d), as well as 29 U.S.C. § 207, and 29

           U.S.C. § 212(c) of the Fair Labor Standards Act to employees of the Architect of the

           Capitol and required the Board of the Office of Compliance to propound regulations

           to implement the above-referenced sections of the Fair Labor Standards Act.

   8.      2 U.S.C. 1313(a), incorporating by reference 29 U.S.C. 207(a), requires the Architect

           to pay Plaintiff overtime wages at 1.5 times Rate of Basic Pay.

   9.      The regulations applicable to the Architect require the Architect to pay Wage Grade

           employees, such as Mr. Maynard, their Rate of Basic Pay, which includes “The

           scheduled rate of pay plus any applicable night shift or environmental differential.”



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10.   The Architect’s internal regulations (inter alia), including HRMD Manual Chapter

      532 (Appendix B), require it to include an 8% environmental hazard pay premium in

      Plaintiff’s Rate of Basic Pay because he is required to work in “close proximity to

      poisons (toxic chemicals) which involve potential serious personal injury such as

      permanent or temporary, partial or complete loss of faculties and/or loss of life

      including exposure of an unusual degree to toxic chemicals, dust, or fumes of equal

      toxicity generated in work situations by processes [and/or] required to perform work

      assignments wherein protective devices and/or safety measures have been developed

      but have not practically eliminated the potential for such personnel injury.”

11.   Plaintiff has satisfied all administrative and judicial prerequisites to the institution of

      this action. The Plaintiff filed a timely Request for Counseling on September 13,

      2018 to raise the wage theft claim. That claim was filed within 180 days of the failure

      to pay Plaintiff at the correct rate for his overtime work. Plaintiff engaged in the

      counseling process and filed a timely Request for Mediation on October 22, 2018,

      within 15 days of the conclusion of the Counseling Period. Mediation closed on

      November 21, 2018. Plaintiff files this suit after the expiration of 30 days from the

      end of the Mediation Period, and before the expiration of 90-days.

                                         FACTS

12.   Plaintiff is currently employed as a Plaster Leader at the Architect, in the House

      Office Buildings Jurisdiction.

13.   At all times relevant to this complaint, Plaintiff has regularly been required to either

      abate lead paint without proper safety equipment and/or precautions or to work in

      close proximity to other Architect employees who are abating lead paint without

      proper safety equipment and/or safety precautions.



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14.   At all times relevant to this complaint, Plaintiff has regularly been required to work

      near asbestos containing materials without proper safety equipment and/or safety

      precautions.

15.   At no time has the AOC paid Plaintiff the environmental hazard pay premium of 8%.

16.   At no time has the AOC paid Plaintiff overtime wages that include the environmental

      hazard pay premium of 8%.

                              COUNT I: WAGE THEFT

17.   Plaintiff repeats and reavers each of the foregoing paragraphs as if they were

      specifically restated here.

18.   Due to the fact that Plaintiff regularly works in close proximity to toxic substances

      (including asbestos and lead paint), Plaintiff is entitled to an environmental hazard

      differential pay of 8% to be included in his Base Rate of Pay.

19.   The Architect of the Capitol has never paid Plaintiff the environmental hazard pay to

      which he is entitled on either regular time or overtime.

20.   Plaintiff is entitled to his lost wages because of the Architect’s failure to pay him

      environmental hazard pay and liquidated damages under the Congressional

      Accountability Act, as well as backpay – pursuant to 5 U.S.C. § 5596.

                       COUNT II: DECLARATORY RELIEF

21.   Plaintiff repeats and reavers each of the foregoing paragraphs as if they were

      specifically restated here.

22.   Due to the fact that Plaintiff regularly works in close proximity to toxic substances

      (including asbestos and lead paint), Plaintiff is entitled to a Declaratory Judgment that

      he is entitled to the environmental hazard differential pay of 8% to be included in his

      Base Rate of Pay for all hours that he works on regular time, in addition to overtime.



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   23.     The Architect of the Capitol has never paid Plaintiff the environmental hazard pay to

           which he is entitled on either regular time or overtime.

   24.     Plaintiff requests Declaratory Relief, pursuant to 28 U.S.C. § 2201, in the form of a

           judicial declaration that he is entitled to the 8% environmental hazard pay, as well as

           backpay – pursuant to 5 U.S.C. § 5596.



WHEREFORE, Plaintiff prays that this Court: (i) declare that the employment practices

complained of in this Complaint are unlawful in that they violate the Congressional

Accountability Act; (ii) declare that Plaintiff is entitled to have his Base Rate of Pay calculated

such that it includes the 8% differential; (iii) permanently enjoin the Defendant and its agents,

officers and employees from engaging in all practices found by this Court to be in violation of

the Congressional Accountability Act; (iv) order the Defendant to make the Plaintiff whole by

paying him any monetary and/or liquidated damages, including back pay, proved at trial in

addition to compensatory damages in an amount to be determined at trial; (v) retain jurisdiction

over this action to ensure full compliance with the Court's orders and require the Defendant to

file such reports as the Court deems necessary to evaluate such compliance; (vii) order the

Defendant to pay Plaintiff’s costs and expenses and reasonable attorneys' fees in connection with

this action; and (viii) grant such other and further relief to the Plaintiff as the Court deems just

and proper.




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          PLAINTIFF DEMANDS A TRIAL BY JURY


                     Respectfully Submitted,
                     ALDERMAN, DEVORSETZ & HORA, PLLC




                     Leslie D. Alderman III (D.C. # 477750)
                     1025 Connecticut Ave., NW
                     Suite 615
                     Washington, DC 20036
                     Tel: 202-969-8220
                     Fax: 202-969-8224
                     lalderman@adhlawfirm.com
                     Attorney for the Plaintiff




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